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                          TENTATIVE RULING

                 ISSUED BY JUDGE LOUISE DECARL ADLER


Adversary Case Name:      CUKER INTERACTIVE, LLC v. WOLFE LEGAL GROUP, PC

Adversary Number: 21-90002

Case Number:       18-07363-LA11

Hearing:           02:00 PM Thursday, June 2, 2022

Motion:      NOTICE OF PRE-TRIAL STATUS CONFERENCE (Fr 5/12/22)

Parties are to appear telephonically and be prepared to discuss "next steps" in this
adversary proceeding; namely, what remains to be determined, if any, and whether the
parties see the need for a future evidentiary hearing on any remaining issues.
